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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW HAMPSHIRE


Coalition for Open Democracy, League of        )
Women Voters of New Hampshire, The             )
Forward Foundation, McKenzie Nykamp            )
Taylor, December Rust, Miles Borne, by his     )
next friend Steven Borne, Alexander Muirhead, )
by his next friend Russell Muirhead, and Lila )
Muirhead, by her next friend Russell Muirhead, )
                        Plaintiffs,                )
                                                   )
                                                   )
        vs.                                        )    Civil Action No. 1:24-cv-00312-SE
                                                   )
                                                   )
David M. Scanlan, in his official capacity as      )
New Hampshire Secretary of State, and John         )
Formella, in his official capacity as New          )
Hampshire Attorney General,                        )
                                                   )
                                                   )
                        Defendants.                )
                                                   )


    OBJECTION TO DEFENDANTS’ MOTION TO CONTINUE DEADLINE TO
  PRODUCE NEW HAMPSHIRE’S STATEWIDE VOTER REGISTRATION SYSTEM

        The Defendants seek to continue their obligation to produce the Statewide Voter

Registration System indefinitely, proposing that the Court order the parties to file joint status report

on or before June 29, 2025. See Motion, ¶ 12. After full briefing, the Court ordered this produced

by May 27, 2025. See Endorsed Order (May 20, 2025). In support of their motion, Defendants

explain that they are simultaneously engaging in three tracks: attempting to negotiate production

of a portion of the SVRS with Plaintiffs; working on a protective order; and working with their

vendor to gather the responsive documents.

        Plaintiffs object on the grounds of timeliness. Our expert reports are due June 18, 2025,

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with a tight schedule leading to trial scheduled for February 2026. While plaintiffs are sympathetic

to counsel’s workload, the Defendants have been on notice plaintiffs were requesting this

information at least since February 25, 2025 when Plaintiffs propounded their Second Request for

the Production of Documents. Courts in this district have ordered this information produced

previously—and Defendants have produced it without similar issue—and so the Defendants

should have been on notice that this Court would likely grant Plaintiffs’ Motion to Compel.

Nowhere in their Motion to Continue do Defendants explain why they waited until the Court

ordered production to begin gathering responsive documents. To the extent that Defendants now

find themselves pressed for time, it is a problem of their own making.

       To the extent that Defendants complain of the time needed to agree on a unique protective

order, it is again a result of their own delay. Defendants have been aware of plaintiffs’ willingness

to negotiate a protective order governing the use of the now-compelled discovery since at least

February 19, 2025, when plaintiffs’ counsel emailed Defendants’ counsel to express our position

that the law entitles us to discovery of the voter database and to indicate our eagerness “to discuss

a potential protective order that the State would request.” Defendants’ motion similarly neglects

to explain why they waited until now to propose the terms of a protective order or seek cross-

agency approval for such an order. Last week, to keep the process moving, Plaintiffs proposed a

generous protective order that largely mirrors the terms to which Defendants have agreed when

producing the voter database in prior litigation. If Defendants are unable to agree to that order by

May 27, 2025, plaintiffs would ask the Court to instead enter in this matter the same protective

order it has already entered in NH Youth Movement v. Scanlan. See Protective Order, Case No.

1:24-cv-291, ECF No. 69 (D.N.H. May 16, 2025).

       Accordingly, the Court should deny Defendant’s Motion to Continue. In the alternative, if



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the Court does grant the motion, plaintiffs request that it extend Plaintiffs’ expert report deadline

by one business day for each business day beyond May 27, 2025 it takes for Defendants to produce

the court-ordered records, while keeping the remainder of the discovery schedule in place.




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                              Respectfully submitted,

                              COALITION FOR OPEN DEMOCRACY,
                              LEAGUE OF WOMEN VOTERS OF NEW
                              HAMPSHIRE, THE FORWARD FOUNDATION,
                              MCKENZIE NYKAMP TAYLOR, DECEMBER
                              RUST, MILES BORNE, BY HIS NEXT FRIEND
                              STEVEN BORNE, ALEXANDER MUIRHEAD,
                              BY HIS NEXT FRIEND RUSSELL MUIRHEAD,
                              AND LILA MUIRHEAD, BY HER NEXT FRIEND
                              RUSSELL MUIRHEAD

                              By and through their attorneys,

                              /s/ Henry R. Klementowicz
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                              Gilles R. Bissonnette (N.H. Bar No. 265393)
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                                             Counsel for Plaintiffs

May 27, 2025

                                CERTIFICATE OF SERVICE

       I certify that on today’s date I served a copy of the foregoing on all counsel through the

court’s ECF system.

                                                     /s/ Henry Klementowicz

                                                     Henry Klementowicz




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